            Case 4:10-cv-40117-FDS Document 3 Filed 08/30/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                 :
Beth Mansfield,                                  :
                                                 :     Civil Action No.: 4:10-cv-40117-FDS
                      Plaintiff,                 :
       v.                                        :
                                                 :
J.E. Cunningham & Associates, LLC; and           :
DOES 1-10, inclusive,                            :
                                                 :
                      Defendant.                 :
                                                 :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)

       Beth Mansfield (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: August 30, 2010

                                                     Respectfully submitted,

                                                     By: /s/ Sergei Lemberg

                                                         Sergei Lemberg, Esq.
                                                         BBO No.: 650671
                                                         Lemberg & Associates L.L.C.
                                                         1100 Summer Street, 3rd Floor
                                                         Stamford, CT 06905
                                                         Telephone: (203) 653-2250
                                                         Facsimile: (877) 795-3666
                                                         Attorneys for Plaintiffs
          Case 4:10-cv-40117-FDS Document 3 Filed 08/30/10 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2010, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
